Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 1 of 19




                      EXHIBIT 2
        Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 2 of 19

                                                                                 2322-CC07598

                     IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                                  STATE OF MISSOURI

DANIEL HEAGHNEY, an individual, on                      )
behalf of himself and all others similarly              )
situated,                                               )
                                                        )
                   Plaintiffs,                          )      Case No.
                                                        )
V.

Johnson & Johnson Holdco (NA), Inc.;
G1axoSmithKline LLC; Reckitt Benckiser LLC;
Bayer Healthcare LLC; The Procter & Gamble
Company; Walmart, Inc.; Walgreen Co.; Target
Corporation; CVS Pharmacy, Inc.; Dierbergs
Markets, Inc.; Price Chopper Foods, Incorporated;
Amazon.com, Inc.; Amazon.com Services LLC;
DOES 1-20,                                                                                              ~
                                                                                                        ~

                   Defendants.

                                    CLASS ACTION PETITION

        COMES NOW Plaintiff Daniel Heaghney, by and through his undersigned counsel, and

hereby brings this action on behalf of himself and all others similarly situated, and in support

thereof, states:

                                          INTRODUCTION

        1.         This is a class action for damages and injunctive relief related to Defendants'

wrongdoing in connection with the marketing, manufacturing, distribution, and sale of over-the-

counter cold medicines containing Phenylephrine.

        2.         Phenylephrine is a purported decongestant used in at least 250 different products,

including Nyquil Severe Cold & Flu, Tylenol Cold & Flu Severe, Sudafed Sinus Congestion,

Mucinex Sinus Max, and many others, as well as generic brands developed and sold by retailers

lilce Walmart, Walgreens, Target, and CVS (the "Phenylephrine Products").



                                                    1
        Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 3 of 19




       3.      Defendants manufacture, test, promote, advertise, market, distribute and sell the

Phenylephrine Products for the treatrnent of congestion and other associated cold and flu

symptoms. Millions of Missourians, and hundreds of millions of Americans, purchase these

products for help relieving congestion and other associated cold and flu symptoms because they

are told by the above-captioned Defendants that they work for that purpose.

       4.      For years, Defendants have advertised and marketed the Phenylephrine Products to

unsuspecting consumers despite knowing that phenylephrine is ineffective for the treatment of

nasal congestion and the other cold and flu symptoms for which Defendants promote its use. On

or about September 12, 2023, the Federal Drug Administration ("FDA"), after careful study and

consideration, announced publicly that phenylephrine is ineffective as a treatment for such

symptoms.

       5.      As a proximate result of Defendants' deceptive, fraudulent, unlawful, and/or unfair

conduct, Plaintiff and all class members collectively suffered hundreds of millions of dollars in

damages in reliance upon Defendants' knowingly false representations about the effectiveness of

phenylephrine and the Phenylephrine Products.

       6.      Plaintiff and. the Class members therefore demand judgment against Defendants

and request, among other things, compensatory damages, punitive damages, attorneys' fees, costs,

injunctive relief, and all other available remedies and damages allowed by law.

                                           PARTIES

       7.      At all relevant times, Plaintiff Daniel Heaghney was and has been a resident of the

City of St. Louis, State of Missouri.

       8.      On numerous occasions within the statutory time period, in reliance upon

Defendants' intentionally false and fraudulent marketing, Plaintiff Heaghney purchased the



                                                2
        Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 4 of 19




Phenylephrine Products, and each of them, within the State of Missouri for treatment of cold and

flu symptoms.

       9.       Defendant Johnson & Johnson Holdco (NA), Inc., is a New Jersey corporation, with

headquarters and a principal place of business in the State of New Jersey. Upon information and

belief, Defendant Johnson & Johnson Holdco (NA), Inc., is a wholly owned subsidiary of Johnson

& Johnson, a New Jersey corporation, with headquarters and a principal place of business in the

State of New Jersey (collectively "J&J"). Upon information and belief, Johnson & Johnson Holdco

(NA), Inc., was previously named Johnson & Johnson Consumer Inc. At all times relevant hereto,

Defendant J&J was engaged in the business of manufacturing, marketing, testing, promoting,

selling, and/or distributing certain of the Phenylephrine Products, including but not limited to,

Tylenol, Sudafed, and Benadryl.

       10.      Defendant GlaxoSmithKline LLC is a Delaware corporation with headquarters and

a principal place of business in the State of Pennsylvania. Upon information and belief,

G1axoSmithKline LLC is a wholly owned subsidiary of G1axoSmithKline PLC a public limited

company organized under the laws of England and Wales (collectively "GSK"). At all times

relevant hereto, Defendant GSK was engaged in the business of manufacturing, marketing, testing,

promoting, selling, and/or distributing certain of the Phenylephrine Products, including but not

limited to, Robitussin, Theraflu, Contac, and Advil.

       11.      Defendant Recicitt Benckiser LLC is a Delaware limited liability corporation, with

headquarters and a principal place of business in the State of New Jersey. Upon information and

belief, Reckitt Benckiser LLC, is a wholly owned subsidiary of Reckitt Benckiser Group PLC, a

public limited company organized under the laws of England and Wales (collectively "Reckitt").

At all times relevant hereto, Reekitt was engaged in the business of manufacturing, marketing,



                                                 3
        Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 5 of 19




testing, promoting, selling, and/or distributing certain of the Phenylephrine Products, including but   ~
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not limited to, Mucinex.                                                                                ~
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       12.     Defendant Bayer Healthcare LLC is a Delaware limited liability corporation with          n
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headquarters and a principal place of business in the State of New Jersey. Upon information and         o
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belief, Bayer Healthcare LLC is a wholly owned subsidiary of Bayer Corporation, an Indiana              (j)
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corporation with a principal place of business in the State of Pennsylvania (collectively "Bayer").     ~
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At all times relevant hereto, Defendant Bayer was engaged in the business of manufacturing,             ~
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marketing, testing, promoting, selling, and/or distributing certain of the Phenylephrine Products,      W

including but not limited to, Alka-Seltzer.                                                             j
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       13.     Defendant The Procter & Gamble Company ("Proctor") is an Ohio corporation with           ~

headquarters and principal place of business in the State of Ohio. At all times relevant hereto,

Defendant Proctor was engaged in the business of manufacturing, marketing, testing, promoting,

selling, and/or distributing certain of the Phenylephrine Products, including but not limited to,

Dayquil and NyQuil.

       14.     Defendant Walmart Inc. ("Walmart") is a Delaware corporation with headquarters

and principal place of business in the State of Arkansas. At all times relevant hereto, Walmart was

engaged in the business of manufacturing, marketing, testing, promoting, selling, and/or

distributing certain of the Phenylephrine Products.

       15.     Defendant Target Corporation ("Target") is a Minnesota corporation with

headquarters and principal place of business in the State of Minnesota. At all times relevant hereto,

Target was engaged in the business of manufacturing, marketing, testing, promoting, selling,

and/or distributing certain of the Phenylephrine Products.




                                                  F51
        Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 6 of 19




       16.     Defendant CVS Pharmacy, Inc. ("CVS") is a Delaware corporation with

headquarters and principal place of business in the State of Rhode Island. At all times relevant

hereto, CVS was engaged in the business of manufacturing, marketing, testing, promoting, selling,

and/or distributing certain of the Phenylephrine Products.

       17.     Defendant Walgreen Co. ("Walgreens") is an Illinois corporation with headquarters

and principal place of business in the State of Illinois. At all times relevant hereto, Walgreens was   3
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engaged in the business of manufacturing, marketing, testing, promoting, selling, and/or                ~
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distributing certain of the Phenylephrine Products.                                                     w

       18.     Defendant Amazon.com, Inc. is a Delaware corporation with its principal place of         y
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business in the State of Washington and Amazon.com Services LLC is a Delaware Limited                   ~

Liability Company with its principal place of business in the State of Washington (collectively

"Amazon"). At all times relevant hereto, Amazon was engaged in the business of manufacturing,

marketing, testing, promoting, selling, and/or distributing certain of the Phenylephrine Products.

       19.     Defendant Dierbergs Markets, Inc. ("Dierbergs"), is a Missouri corporation with

principal place of business in the State of Missouri. At all times relevant hereto, Dierbergs was

engaged in the business of manufacturing, marketing, testing, promoting, selling, and/or

distributing certain of the Phenylephrine Products.

       20.     Defendant Price Chopper Foods, Incorporation ("Price Chopper"), is a Missouri

corporation with its principal office located in the State of Arkansas. At all times relevant hereto,

Price Chopper was engaged in the business of manufacturing, marketing, testing, promoting,

selling, and/or distributing certain of the Phenylephrine Products.

       21.     The true names and capacities of defendants Does 1 through 20 are currently

unknown to Plaintiff who, therefore, sues these Defendants under these fictitious names. These



                                                  5
        Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 7 of 19




defendants are each directly and/or vicariously responsible, in some manner, for the harms alleged

herein. If/when Plaintiff learns these Defendants' true n.ames and capacities, Plaintiff will seelc

leave to amend this Petition accordingly.

       22.     The true names and/or capacities, whether individual, corporate, partnership,

associate, governinental, or otherwise, of Defendants DOES 1 through 20, inclusive, and each of

them, are unknown to Plaintiff at this time, who therefore sues said Defendants by such fictitious

names. Plaintiff is informed and believe, and thereon alleges, that each Defendant designated

herein as a DOE caused injuries and damages proximately thereby to Plaintiff and the class as

hereinafter allege; and that each DOE Defendant is liable to Plaintiff and the class for the acts and

omissions alleged herein below, and the resulting injuries to Plaintiff and the class, and damages

sustained by them. Plaintiff will amend this Petition to allege the true names and capacities of said

DOE Defendants when ascertained.

                                 JURISDICITON AND VENUE

       23.     This Court has jurisdiction over this matter because it is a civil matter in which

more than $25,000.00 is in controversy.

       24.     Venue is proper in this Circuit because Plaintiff is a resident of the City of St. Louis,

purchased the Phenylephrine Products in the City of St. Louis, and was first harmed by the

Phenylephrine Products in the City of St. Louis.

                                   GENERAL ALLEGATIONS

       25.     The main active ingredient in the Phenylephrine Products is phenylephrine

hydrochloride, or "PE." In 1994, the FDA issued a final monograph establishing conditions under

which OTC nasal decongestant drug products are generally recognized as safe and effective




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        Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 8 of 19




("GRASE") and not misbranded. Phenylephrine is included in the final monograph as an OTC oral

nasal decongestant.

       26.     Defendants marketed PE as an effective decongestant that should be used to relieve

nasal congestion and sinus pressure associated with colds, allergies, and other respiratory

conditions. According to Defendants, phenylephrine works by constricting blood vessels in the

nasal passages, which reduces swelling and congestion.

       27.     However, Defendants knew that these representations concerning phenylephrine's

eff'icacy at treating nasal congestion were false.

       28.     In 2007, the consumer advocacy group Public Citizen filed a petition with the U.S.

Food and Drug Administration (FDA) regarding phenylephrine. The petition requested that the

FDA re-evaluate the safety and efficacy of phenylephrine as a nasal decongestant and take

regulatory action.

       29.     Defendants deceived Plaintiff and the public in general by making these intentional

misrepresentations regarding the efficacy ofphenylephrine and the Phenylephrine Products. Public

Citizen expressed concerns that phenylephrine, the active ingredient in many OTC decongestant

prod.ucts, was not as effective as another decongestant called pseudoephedrine. The petition argued

that the switch from pseudoephedrine to phenylephrine in many cold and allergy medications had

not been supported by adequate scientific evidence demonstrating the latter's effectiveness in

relieving nasal congestion.

       30.     Public Citizen also raised concerns about the potential side effects and safety of

phenylephrine, suggesting that its use might lead to increased blood pressure in some individuals.

       31.     The FDA reviewed the concerns raised by the Public Citizen petition regarding the

safety and efficacy of phenylephrine as a nasal decongestant. The FDA concluded that, based on



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        Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 9 of 19




the available data at the time of its review in 2007, phenylephrine could be considered effective as

a nasal decongestant when used at the recommended doses.

       32.      Thus, in 2007, the FDA concluded that orally administered PE was Generally

Recognized as Safe and Effective (GRASE).

       33.      The FDA's GRASE determination allowed Defendants to market the Products as

an OTC or "over-the-counter" medication. This was an important designation to Defendants as it

allowed them to market the Products to consumers without requiring a doctor's prescription,

making it more accessible for self-treatment, and allowing Defendants to make billions of dollars

in OTC sales.

       34.      However, on September 1 lth and 12th, 2023, the FDA issued a new report detailing

its updated review of the efficacy of phenylephrine, based on the studies it initially reviewed in

2007 and additional studies obtained since its initial review. A copy of the FDA's report is attached

as Exhibit 1.

       35.      The FDA's 2023 findings are based on rigorous scientific research and evaluation.

At its initia12007 Nonpreseription Drugs Advisory Committee ("NDAC") meeting and review, the

FDA reviewed clinical effectiveness data for oral doses between 5mg a.nd 40mg in a total of 14

studies, of which 7 reported positive measurable efficacy results.

       36.      During its initial 2007 Nonprescription Drugs Advisory Committee ("NDAC")

meeting and review, the FDA reviewed clinical effectiveness data for oral doses between 5mg and

40mg in a total of 14 studies, of which 7 reported positive measurable efficacy results.

        37.     However, in its re-analysis of these studies in 2023, the FDA found significant

problems with the 2007 studies:

        [w]hen considering the studies through a modern drug review lens, all of the studies
        (both positive and negative) were highly problematic in both design and

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        Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 10 of 19




        methodology. All used a highly variable endpoint (NAR) to study a drug in the
        setting of a highly variable disease state (the common cold) that is no longer used
        as a primary endpoint to evaluate congestion in pivotal trials. Further, all the
        positive studies (and most of the negative studies) were unpublished and therefore
        never peer-reviewed. Six of the seven positive studies came from a single study
        center (funded by the manufacturer of Neo-Synephrine), were very small in size,
        and (except in one instance) the results could not be duplicated at two other study
        centers (also funded by the same manufacturer) that used as similar study design
        and methodology.

(Exhibit 1).

        38.      Thus, the FDA found that the original studies had data integrity issues and that the

results of some 2007 studies could not be replicated in other studies at other locations.

        39.      Due to the flaws in methodology and design of the previous studies, the FDA now

believes that the studies evaluated for the efficacy of phenylephrine in 2007 are "unacceptable as

continued support for the efficacy of monographed doses or oral PE." Exhibit 1.

        40.      Since 2007, several additional large clinical trials have been conducted regarding

the efficacy of phenylephrine, providing evidence of the absence of a decongestant effect from the

OTC approved doses of 10 mg.l These studies show that the Phenyleplirine Products are no more

effective than placebo in decreasing nasal congestion and, thus, lack efficacy.

        41.      On September 12, 2023, an FDA panel unanimously declared that phenylephrine,

the active ingredient in the Phenylephrine Products, is an ineffective decongestant.




I See, e.g., Gelotte, CK and BA Zimmerman, 2015, Pharmacokinetics, safety, and cardiovascular tolerability of
phenylephrine HCl 10, 20, and 30 tng after a single oral administration in healthy volunteers, Clin Drug Investig,
35(9):547-558; Day, JH, MP Briscoe, JD Ratz, M Danzig, and R Yao, 2009, Efficacy of loratadine-montelukast on
nasal congestion in patients with seasonal allergic rhinitis in an environmental exposure unit, Ann Allergy Asthrna
Immunol, 102(4):328-338; Horak, F, P Zieghnayer, R Zieglmayer, P Lemell, R Yao, H Staudinger, and M Danzig,
2009, A placebo-controlled study of the nasal decongestant effect of phenylephrine and pseudoephedrine in the
Vienna Challenge Chamber, Ann Allergy Asthma Immunol, 102(2):116-120; Meltzer, EO, PH Ratner, and T
McGraw, 2015, Oral phenylephrine HCl for nasal congestion in seasonal allergic rhinitis: A randomized, open-label,
placebo-controlled study, JAllergy Clin Immunol Pract, 3(5):702-708; Meltzer, EO, PH Ratner, and T McGraw,
2016, Phenylephrine hydrochloride modified-release tablets for nasal congestion: a randomized, placebo-controlled
trial in allergic rhinitis patients, Ann Allergy Asthma Immunol, 116(1):66-71.

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       Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 11 of 19




       42.      At least since 2018, if not earlier, Defendants knew or should have known that their

marketing claims regarding the Phenylephrine Products' efficacy were false and misleading.

       43.      Plaintiff and the class members purchased the Phenylephrine Products ui reliance

on Defendants' false and deceptive marketing claims. Plaintiff and the class members acted as

reasonable consumers in light of all the circumstances.

                                CLASS ACTION ALLEGATIONS

       44.      Pursuant to Rules 52.08(a), (b)(3), (b)(2), and (c)(4) of the Missouri Rules of Civil

Procedure, Plaintiff brings this class action on his own behalf and on behalf of all other similarly

situated consumers in the United States as members of the following proposed Missouri class, to

be defined as follows:

             a. During the fullest period allowed by law, all persons who, while a resident of

                Missouri, purchased any of the Phenylephrine Products at any location in Missouri,

                including without limitation any online purchase made from Missouri (the "Class").

             b. Excluded from the class are assigned judges and members of their families within

                the first degree of consanguinity, Defendants, and their subsidiaries, affiliates,

                officers, and directors.

       45.      Like Plaintiff, all Class members purchased the Phenylephrine Products based on

the misrepresentations that said products were effective in the treatment of congestion and other

associated cold and flu symptoms, and that such understanding was reasonable and was a material

basis for the decision to purchase the Phenylephrine Product, which Defendants intended to foster

through its various marketing activities in connection with the sale of the Phenylephrine Products.

       46.      The proposed Class is so numerous that individual joinder of all its members is

impracticable because members of the Class number in the tens or hundreds of thousands. The



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        Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 12 of 19                                         rn
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precise number of Class members and their identities are unknown to Plaintiff at this time but are            m~
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objectively ascertainable and will be determined through appropriate discovery.                               ~
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        47.      Plaintiff and his counsel will fairly and adequately protect and represent the               U)
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interests of each member of the class. Plaintiff has retained counsel experienced in complex                  0
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litigation and class actions.
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        48.      Plaintiff has no adverse or antagonistic interests to those of the Class, nor is Plaintiff    cD
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subject to any unique defenses. Plaintiff's claim is typical of every member of the Class.
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       49.       There are common questions of law and fact affecting Plaintiff and the Class                 N
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members. These include, but are not limited to:
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              a. Whether Defendants marketed and advertised the Phenylephrine Products in a way               ~03
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                 that was false or misleading.

              b. Whether by the misconduct set forth herein, Defendants have engaged and continue

                 to engage in any unfair practice, deception, fraud, false pretense, false promise,

                 misrepresentation, concealment, suppression, or omission of any material fact in

                 connection with the sale or advertisement of the Phenylephrine Products in

                 violation of RSMo. 407.020.

              c. Whether Defendants' conduct constitutes violations of the laws asserted herein.

              d. Whether Class members were harmed by Defendants' misconduct and, if so, to

                 what extent.

              e. Whether the Class is entitled to recover statutory attoiney's fees.

              f. Whether the Class is entitled to punitive damages (following motion practice

                 consistent with RSMo. § 510.261).




                                                    11
       Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 13 of 19




             g. Whether an injunction is necessary to prevent Defendants from continuing to

                market and sell the Phenylephrine Products that lacic efficacy.

       50.      These common questions of law and/or fact predominate over any questions

affecting only individual Class members.

       51.      A class action is superior to the other available methods for a fair aiid efficient

adjudication of this controversy. The damages or other financial detriment suffered by the Plaintiff

and individual Class members is relatively small compared to the burden and expense that would

be entailed by individual litigation of their claims against Defendants. It would thus be virtually

impossible for Plaintiff and Class members, on an individual basis, to obtain meaningful and

effective redress for the wrongs done to them. Further, it is desirable to concentrate the litigation

of the Class members' claims in one forum, as it will conserve party and judicial resources and

facilitate the consistency of adjudications. Plaintiff knows of no difficulty that would be

encountered in the management of this case that would preclude its maintenance as a class action.

       52.      The Class also may be certified because Defendants have acted or refused to act on

grounds applicable to the Class, thereby making appropriate final declaratory a.nd/or injunctive

relief with respect to the members of the Class as a whole.

       53.      Plaintiff seeks preliminary and permanent injunctive and equitable relief on behalf

of the entire Class, on grounds generally applicable to the entire Class, to enjoin and prevent

Defendants fiom engaging in the acts described above, including continuing to market and sell

Phenylephrine Products that lack efficacy, and requiring Defendants to provide a full refund of the

purchase price of the Products to Plaintiff and the Class members.

                                             COUNTI

                     Violation of the Missouri Merchandising Practices Act



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       Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 14 of 19                                  m
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                                    Mo. Rev. Stat. §§ 407.010 et seq.                                 ~
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               (On Behalf of the Plaintiff and the Class Against All Defendants)                      ~
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       54.     Plaintiff incorporates by reference and realleges every allegation contained above     T'
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as though fully set forth herein.                                                                     p
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       55.     Plaintiff and the Class members defined herein are each a"person" as defined by        ~
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RSMo. § 407.010(5). Likewise, each of the Defendants are a"person" as defined by RSMo. §              ~
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407.010(5).                                                                                           y
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       56.     Plaintiff and the Class members' purchases of the Phenylephrine Products were          W

"sales" and occurred in connection with a"sale" as defined by RSMo. §§ 407.0410(6) and 407.020.       ~
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       57.     The Defendants made numerous "advertisements" as defined by RSMo. §                    ~

407.010(1) in print, radio, television, packaging, and other forms regarding the purported efficacy

of the Phenylephrine Products for treating congestion.

       58.     The Defendants used "deception" as that term is defined by 15 CSR 60-9.020(1) in

connection with the sale and advertisement of the Phenylephrine Products.

       59.     The Defendants committed "fraud" as that is defined by 15 CSR 60-9.050(1) in

connection with the sale and advertisement of the Phenylephrine Products as the term "fraud" is

defined by 15 CSR 60-9.040.

       60.     The Defendants used "false pretenses" in connection with the "sale" and

"advertisement" of the Phenylephrine Products.

       61.     The Defendants made "false promises" as that term is defined by 15 CSR 60-

9.060(1) in connection with the sale and advei-tisement of the Phenylephrine Products.

       62.     The Defendants made "misrepresentations" as that term is defined by 15 CSR 60-

9.060(1) in connection with the sale and advertisement of the Phenylepht-ine Products.



                                                   13
       Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 15 of 19




        63.    The Defendants concealed, suppressed, and/or omitted material facts about the

Phenylephrine Products in connection with their sale and advertisement under CSR 60-9.110.

       64.     The Defendants committed unfair practices under CSR 60-8.020 by engaging in

practices that were unethical, oppressive or unscrupulous and which presented the risk of, or

caused, substantial injury to Plaintiff and the Class members, who are Missouri consumers.

       65.     Plaintiff and the Class members acted as reasonable consumers would in light of

all the circumstances.

       66.     Defendants' deception, fraud, false pretenses, false promises, misrepresentations,

concealments, suppressions, omissions, and unfair practices would, and did, cause reasonable

persons to enter into transactions to purchase the Phenylephrine Products, resulting in damage to

Plaintiff and the Class members.

       67.     Damages can be proven with sufficiently definitive and obj ective evidence to allow

the loss to be calculated within a reasonable degree of certainty. Defendants are in possession of

documents and data relating to the sales of the Phenylephrine Products in Missouri. Plaintiff and

the Class members have been damaged in the amount of the purchase price of the Phenylephrine

Products they purchased.

       68.     As a direct and proximate result of Defendants' violations of RSMo. § 407.020,

Plaintiff and the Class members have or will suffer ascertainable loss of money and/or property

and seek relief pursuant to RSMo. § 407.025.

       69.     Under RSMo. § 407.025.2, Plaintiff and the Class seek their reasonable attorney's

fees incurred in connection with this action.

       WHEREFORE Plaintiff, individually, and on behalf of the proposed Class, prays the Court

grant the following relief:



                                                14
Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 16 of 19




  a. Enter an order certifying this action as a class action and appointing Daniel

     Heaghney as the representative of the Class.

  b. Enter an order appointing Benjamin Schmickle, Sophie Zavaglia, and Benjamin

     McIntosh of SWMW Law, LLC, as counsel of the Class.

  c. In the event the Class is certified, enter judgment in favor of Plaintiff and members

     of the Class in the sum of the purchase price of the Phenylephrine Products.

  d. Enter judgment awarding class counsel reasonable attorney's fees and all expenses

     of this action to be paid by Defendant, and to require Defendant to pay the costs

     and expenses of class notice and administration.

  e. Enter judgment awarding Plaintiff a reasonable service award for serving as the

     representatives ofthe classes.

  £ Enter a judgment of permanent injunction against Defendants prohibiting

     Defendants from selling the Phenylephrine Products to Missouri consumers.



                                                    Respectfully Submitted,
                                                    SWMW LAW, LLC

                                            By:   /s/Benlamin S. Mclntosh
                                                    Benjamin R. Schmickle, #57064
                                                    Sophie A. Zavaglia, #66348
                                                    Benjamin S. McIntosh, #68248
                                                    ben@swtnwlaw.com
                                                    sophie a.;swmwlaw.com
                                                    ben.mcintosh(a~swmwlaw.com
                                                    Attorneys for Plaintiff
                                                    701 Market Street, Suite 1000
                                                    St. Louis, MO 63101
                                                    (314) 480-5180
                                                    (314) 932-1566 — Facsimile




                                       15
                Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 17 of 19



      4:23cv1342, Heaghney V. Johnson & Johnson Holdco (Na), Inc. Et Al
                                                    US District Court Docket
                                        United States District Court, Missouri Eastern
                                                               (St. Louis)
                                          This case was retrieved on 10/26/2023

Header


Case Number: 4:23cv1342                                                                                  Class Code: Open
Date Filed: 10/25/2023                                                                                     Statute: 28:1332
Assigned To: District Judge Ronnie L. White                                                             Jury Demand: Both
Nature of Suit: Product Liability (195)                                                       Demand Amount: $5,000,000
Cause: Diversity-Product Liability                                                         NOS Description: Product Liability
Lead Docket: None
Other Docket: None
Jurisdiction: Diversity




Participants

Litigants                                                            Attorneys
Daniel Heaghney                                                      Benjamin Stephen McIntosh
an individual, on behalf of himself and all others similarly         LEAD ATTORNEY;ATTORNEY TO BE NOTICED
situated |
Plaintiff                                                            701 Market Street Suite 1000
                                                                     St. Louis, MO 63101
                                                                     USA
                                                                     314-480-5180 Fax: 314-932-1566
                                                                     Email:Ben.Mcintosh@swmwlaw.Com
JOHNSON & JOHNSON HOLDCO (NA), INC.
Defendant
Glaxosmithkline LLC
Defendant
Reckitt Benckiser LLC
Defendant
Bayer Healthcare LLC                                                 Adrienne L. Byard
Defendant                                                            LEAD ATTORNEY;ATTORNEY TO BE NOTICED
                                                                     SHOOK HARDY LLP - Kansas City
                                                                     2555 Grand Boulevard
                                                                     Kansas City, MO 64108
                                                                     USA
                                                                     816-474-6550 Fax: 816-421-5547 Email:Abyard@shb.Com
The Procter & Gamble Company
Defendant
Walmart, Inc.
Defendant
Walgreen Co.
Defendant
Target Corporation
Defendant
              Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 18 of 19
                                                                                                           Page 2 of 3
                      4:23cv1342, Heaghney V. Johnson & Johnson Holdco (Na), Inc. Et Al

Litigants                                                     Attorneys
CVS Pharmacy, Inc.
Defendant
Dierbergs Markets, Inc.
Defendant
Price Chopper Foods, Incorporated
Defendant
Amazon.com, Inc.
Defendant
AMAZON.COM SERVICES LLC
Defendant
Does 1-20
Defendant


Proceedings

#        Date              Proceeding Text                                                        Source
1        10/25/2023        NOTICE OF REMOVAL from Circuit Court, Twenty-Second
                           Judicial Circuit, City of St. Louis, Missouri, case number 2322-
                           CC07598, with receipt number AMOEDC-10233808, in the
                           amount of $402 Jury Demand,, filed by Bayer Healthcare LLC.
                           (Attachments: # 1 Exhibit 1. Class Action Petition and State Court
                           Proceedings, # 2 Exhibit 2. Notice of Service, # 3 Civil Cover
                           Sheet, # 4 Original Filing Form)(Byard, Adrienne) (Entered:
                           10/25/2023)
2        10/25/2023        NOTICE OF FILING NOTICE OF REMOVAL filed by Defendant
                           Bayer Healthcare LLC Sent To: Plaintiff (Byard, Adrienne)
                           (Entered: 10/25/2023)
3        10/25/2023        DISCLOSURE STATEMENT by Bayer Healthcare LLC, Bayer
                           AG.. (Byard, Adrienne) (Entered: 10/25/2023)
4        10/25/2023        AMENDED DISCLOSURE STATEMENT by Bayer Healthcare
                           LLC, Bayer AG, MiraLAX LLC, Bayer Samson I LLC, Bayer
                           Samson II LLC, Bayer Consumer Care Holdings LLC, Bayer West
                           Coast Corporation, Bayer Essure Inc., NippoNex Inc., Bayer
                           Medical Care Inc., Bayer Healthcare US Funding LLC..
                           (Attachments: # 1 Exhibit A. Addendum to Corporate Disclosure
                           Statement)(Byard, Adrienne) Modified on 10/26/2023 (CBL).
                           (Entered: 10/25/2023)
5        10/25/2023        Petition (Removal/Transfer) Received From: Circuit Court of the
                           City of St. Louis, filed by Daniel Heaghney.(JWD) (Entered:
                           10/25/2023)
         10/25/2023        Case Opening Notification. Judge Assigned: Honorable Ronnie L.
                           White. Pursuant to Local Rule 2.09, every nongovernmental
                           corporate party or nongovernmental corporation that seeks to
                           intervene in any case, and every party or intervenor in an action in
                           which jurisdiction is based upon diversity, must file a Disclosure
                           Statement immediately upon entering its appearance in the case.
                           Please complete and file the certificate as soon as possible.
                           (moed-0001.pdf). (JWD) (Entered: 10/25/2023)
6        10/26/2023        Electronic Notice re: Disclosure Statement to Plaintiff Daniel
                           Heaghney. Pursuant to Local Rule 2.09, every nongovernmental
                           corporate party or nongovernmental corporation that seeks to
                           intervene in any case, and every party or intervenor in an action in
                           which jurisdiction is based upon diversity, must file a Disclosure
                           Statement immediately upon entering its appearance in the case.
                           Please complete and file the certificate as soon as possible and
                           add all individuals and entities into CM/ECF as required (moed-
                  Case MDL No. 3089 Document 236-4 Filed 10/26/23 Page 19 of 19
                                                                                                Page 3 of 3
                         4:23cv1342, Heaghney V. Johnson & Johnson Holdco (Na), Inc. Et Al

 #         Date                Proceeding Text                                         Source
                               0001.pdf). (TMT) (Entered: 10/26/2023)

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